                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE

UNITED STATES OF AMERICA,                     )
                                              )
v.                                            ) Case No: 3:22-cr-118
                                              ) JUDGE VARLAN
EDWARD KELLEY ,                               ) Magistrate Judge McCook
                                              )
       Defendant.                             )


     MOTION BY DEFENDANT EDWARD KELLEY TO VACATE CONVICTION AND
                  DISMISS INDICTMENT WITH PREJUDICE


       COMES the Defendant Edward Kelley (“Kelley”), by and through counsel, and pursuant

to Fed. R. Crim. P. 12(b)(2), and moves this Court to Vacate his conviction and Dismiss the

Indictment against him with prejudice. As grounds, Kelley submits this Court no longer has

jurisdiction of the case against him as it is no longer a cognizable federal offense. Kelley was

issued a full and unconditional pardon by President Donald J. Trump on January 20, 2025, on all

charges “related to” his conduct on January 6, 2021. This case is unmistakenly “related to” his

charges in Washington, D.C. and covered by his Presidential pardon. Kelley respectfully requests

that upon dismissal of this case he be immediately released and restored to all rights and privileges

due every American citizen.

       In support of this Motion, Kelley submits the attached Memorandum of Law.

       Respectfully submitted this 27th day of January 2025

                                              /s/ Mark E. Brown
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                                              Attorney for the Defendant Edward Kelley

                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 27th day of January 2025, a true and exact copy of this document

has been served via this Court’s electronic filing system. Service is made on all parties appearing

on this Court’s electronic service certificate. All parties in interest may access this pleading via

ECF.

                                              /s/ Mark E. Brown
                                              Mark E. Brown




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